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                          UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

Robert Bruce, Bryan Slaton, Grayson County         §
Conservatives PAC                                  §
                                                   §      NO: AU:22-CV-01166-RP
vs.                                                §
                                                   §
J.R. Johnson, Mary K.(Katie) Kennedy, Randall
H. Erben, Chad M. Craycraft, Chris Flood,
Patrick W. Mizell, Richard S. Schmidt, Joseph
O. Slovacek, Steven D. Wolens

                                                ORDER


                The Court hereby sets and directs the parties, or counsel acting on their behalf, to
        appear by phone for a telephone conference on November 16, 2022 at 02:00 PM . The
        parties are directed to use the below dial-in information:
                **Please call in 5 minutes prior to start of hearing.**
                1. Toll free number: 888-363-4735
                2. Access code: 3948919
        If there are questions regarding the telephonic appearance, the parties should contact Julie
Golden, Courtroom Deputy, at julie_golden@txwd.uscourts.gov. Plaintiffs shall notify
Defendants of this hearing.
        The use of speaker phones is prohibited during a telephonic appearance. Additionally,
because earlier hearings in other cases may be in progress at the time attorneys call in for their
scheduled conference, attorneys should call in with their phones on “mute” and wait for the
Courtroom Deputy to call this case.before they speak.

                SIGNED on 15th day of November, 2022.



                                                       ______________________________
                                                       ROBERT PITMAN
                                                       UNITED STATES DISTRICT JUDGE
